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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF FLORIDA
                          GAINESVILLE DIVISION

UNITED STATES OF AMERICA

vs.                                                        Case No.:1:07cr18-SPM

BROOKE ERIN THOMSON,

           Defendants.
_____________________________/

            ORDER GRANTING MOTION TO CONTINUE SENTENCING

       This cause comes before the Court on the “Brooke Erin Thomson’s Motion

to Continue Sentencing” (doc. 130). As grounds, Defendant states that she

would like to continue her cooperation with the Government by testifying at the

trial scheduled on the same day as her sentencing. Additionally, Defendant

would like time to meet with a mental health professional who will testify at the

sentencing hearing. The Government does not oppose the motion to continue.

       Accordingly, it is hereby ORDERED AND ADJUDGED as follows:

       1.      The Defendant’s motion to continue (doc. 130) is hereby granted.

       2.      Sentencing is reset for Monday, April 7, 2008 at 1:30 p.m. in

               Gainesville, Florida.

       DONE AND ORDERED this twenty-fifth day of February, 2008.




                                         s/ Stephan P. Mickle
                                       Stephan P. Mickle
                                       United States District Judge

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